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EXHIBIT 3

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EXHIBIT 3

RELEVANT STATUTORY PROVISIONS
Title 18, United States Code, Section 1951(a) states in relevant part that:

(a) Whoever in any way or degree obstructs, delays, or affects commerce or
the movement of any article or commodity in commerce, by robbery . . . or
attempts or conspires so to do, . . . shall be fined under this title or
imprisoned not more than twenty years, or both.

(b) As used in this section —

(1) The term “robbery” means the unlawful taking or obtaining of

personal property from the person or in the presence of
another, against his will, by means of actual or threatened
force, or violence, or fear of injury, immediate or future, to his
person or property, or property in his custody or possession,
or the person or property of a relative or member of his family
or of anyone in his company at the time of the taking or
obtaining.

(3) The term “commerce” means commerce within the District of

Columbia, or an Territory or Possession of the United States;
all commerce between any point in a State, Territory,
Possession, or the District of Columbia and any point outside
thereof; all commerce between points within the same State
through any place outside such State; and all other commerce
over which the United States has jurisdiction.

Title 18, United States Code, Section 924(c)(1)(A)(iii) and (c)(3)(A) states in
relevant part that:

Except to the extent that a greater minimum sentence is otherwise provided by
this subsection or by any other provision of law, any person who, during and |
in relation to any crime of violence . . . for which the person may be
prosecuted in a court of the United States, uses or carries a firearm, or who, in
furtherance of any such crime, possesses a firearm, shall, in addition to the
punishment provided for such crime of violence . . .
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(iii) if the firearm is discharged, be sentenced to a term of imprisonment of not
less than 10 years.

(3) For purposes of this subsection the term “crime of violence” means an
offense that is a felony and —

(A) has an element, the use, attempted use, or threatened use of physical force
against the person or property of another, ....

3. Title 18, United States Code, Section 924(j)(1) states in relevant part that:

(j) A person who, in the course of a violation of subsection (c), causes the
death of a person through the use of a firearm, shall ---

(1) if the killing is a murder (as defined in section 1111), be punished by death
or by imprisonment for any term of years or for life;

Section 1111(a):

(a) Murder is the unlawful killing of a human being with malice aforethought.
Every murder perpetrated by poison, lying in wait, or any other kind of
willful, deliberate, malicious, and premeditated killing; or committed in the
perpetration of or attempt to perpetrate, any .. . robber; . . . is murder in
the first degree.

4, Title 18, United States Code, Section 924(o) states in relevant part that:

A person who conspires to commit an offense under subsection (c) shall be
imprisoned for not more than 20 years, fined under this title, or both.

5. Title 18, United States Code, Section 2 states that:

(a) Whoever commits an offense against the United States or aids, abets,
counsels, commands, induces or procures its commission, is punishable as —
a principal.

(b) Whoever willfully causes an act to be done which if directly performed by
him or another would be an offense against the United States, is punishable
as a principal. .
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7. Title 18, United States Code, Section 3281 provides:

An indictment for any offense punishable by death may be found at any time
without limitation.

8. Title 18, United States Code, Section 3282(a) states that:

“Except as otherwise expressly provided by law, no person shall be prosecuted,
tried, or punished for any offense, not capital, unless the indictment is found

or
the information is instituted within five years next after such offense shall have

been committed.
